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Case 1:17-cr-00201-ABJ Document 425 Filed 08/10/18 Page 2 of 6
   Case 1:17-cr-00201-ABJ Document 425 Filed 08/10/18 Page 3 of 6




<RXUGHOLYHU\LVVFKHGXOHGIRUWRPRUURZ
E\DP
6HH3UHSDULQJIRU'HOLYHU\IRUKHOSIXOWLSV
7UDFNLQJ

6KLSGDWH                                                           6FKHGXOHGGHOLYHU\
0RQ                                                        7XHE\
&KULVWRSKHU&DUXVRQH                                                 DP
 'RDU5LHFN.DOH\	0DFN                                            5LFKDUG*DWHV
1HZ<RUN1<                              3LFNHGXS
86
                                                                      86



6KLSPHQW)DFWV
2XUUHFRUGVLQGLFDWHWKDWWKHIROORZLQJSDFNDJHLVVFKHGXOHGWREH
GHOLYHUHGWR\RX

  7UDFNLQJQXPEHU                 

  6WDWXV                          3LFNHGXS

  5HIHUHQFH                       

  6HUYLFHW\SH                     )HG([3ULRULW\2YHUQLJKW

  3DFNDJLQJW\SH                  )HG([(QYHORSH

  1XPEHURISLHFHV                

  :HLJKW                          OE

  6SHFLDOKDQGOLQJ6HUYLFHV       'HOLYHU:HHNGD\



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      Case 1:17-cr-00201-ABJ Document 425 Filed 08/10/18 Page 4 of 6
     6WDQGDUGWUDQVLW                         E\DP



  3UHSDULQJIRU'HOLYHU\
  
  7RKHOSHQVXUHVXFFHVVIXOGHOLYHU\RI\RXUVKLSPHQWSOHDVHUHYLHZ
  WKHEHORZ


  :RQ
WEHLQ"
  
  <RXPD\EHDEOHWRKROG\RXUGHOLYHU\DWDFRQYHQLHQW)HG([:RUOG
  6HUYLFH&HQWHURU)HG([2IILFHORFDWLRQIRUSLFNXS7UDFN\RXU
  VKLSPHQWWRGHWHUPLQH+ROGDW)HG([ORFDWLRQDYDLODELOLW\




    3OHDVHGRQRWUHVSRQGWRWKLVPHVVDJH7KLVHPDLOZDVVHQWIURPDQXQDWWHQGHGPDLOER[7KLVUHSRUWZDVJHQHUDWHGDW
DSSUR[LPDWHO\30&67RQ

$OOZHLJKWVDUHHVWLPDWHG
7KHVKLSPHQWLVVFKHGXOHGIRUGHOLYHU\RQRUEHIRUHWKHVFKHGXOHGGHOLYHU\GLVSOD\HGDERYH)HG([GRHVQRWGHWHUPLQHPRQH\
EDFNJXDUDQWHHRUGHOD\FODLPUHTXHVWVEDVHGRQWKHVFKHGXOHGGHOLYHU\3OHDVHVHHWKH)HG([6HUYLFH*XLGHIRUWHUPVDQG
FRQGLWLRQVRIVHUYLFHLQFOXGLQJWKH)HG([0RQH\%DFN*XDUDQWHHRUFRQWDFW\RXU)HG([FXVWRPHUVXSSRUWUHSUHVHQWDWLYH
7RWUDFNWKHODWHVWVWDWXVRI\RXUVKLSPHQWFOLFNRQWKHWUDFNLQJQXPEHUDERYH

6WDQGDUGWUDQVLWLVWKHGDWHDQGWLPHWKHSDFNDJHLVVFKHGXOHGWREHGHOLYHUHGE\EDVHGRQWKHVHOHFWHGVHUYLFHGHVWLQDWLRQ
DQGVKLSGDWH/LPLWDWLRQVDQGH[FHSWLRQVPD\DSSO\3OHDVHVHHWKH)HG([6HUYLFH*XLGHIRUWHUPVDQGFRQGLWLRQVRIVHUYLFH
LQFOXGLQJWKH)HG([0RQH\%DFN*XDUDQWHHRUFRQWDFW\RXU)HG([&XVWRPHU6XSSRUWUHSUHVHQWDWLYH

)HGHUDO([SUHVV&RUSRUDWLRQ7KHFRQWHQWRIWKLVPHVVDJHLVSURWHFWHGE\FRS\ULJKWDQGWUDGHPDUNODZVXQGHU86DQG
LQWHUQDWLRQDOODZ5HYLHZRXUSULYDF\SROLF\$OOULJKWVUHVHUYHG

7KDQN\RXIRU\RXUEXVLQHVV




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From: DCD_ECFNotice@dcd.uscourts.gov
Sent: Friday, February 2, 2018 1:39:20 PM (UTC-05:00) Eastern Time (US & Canada)
To: DCD_ECFNotice@dcd.uscourts.gov
Subject: Activity in Case 1:17-cr-00201-ABJ USA v. MANAFORT et al Order


7KLV LV DQ DXWRPDWLF HPDLO PHVVDJH JHQHUDWHG E\ WKH &0(&) V\VWHP 3OHDVH '2 127
5(6321' WR WKLV HPDLO EHFDXVH WKH PDLO ER[ LV XQDWWHQGHG
127( 72 38%/,& $&&(66 86(56 -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV
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UHFHLYH RQH IUHH HOHFWURQLF FRS\ RI DOO GRFXPHQWV ILOHG HOHFWURQLFDOO\ LI UHFHLSW LV UHTXLUHG
E\ ODZ RU GLUHFWHG E\ WKH ILOHU 3$&(5 DFFHVV IHHV DSSO\ WR DOO RWKHU XVHUV 7R DYRLG ODWHU
FKDUJHV GRZQORDG D FRS\ RI HDFK GRFXPHQW GXULQJ WKLV ILUVW YLHZLQJ +RZHYHU LI WKH
UHIHUHQFHG GRFXPHQW LV D WUDQVFULSW WKH IUHH FRS\ DQG  SDJH OLPLW GR QRW DSSO\

                                      86 'LVWULFW &RXUW

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-XGJH$P\%HUPDQ-DFNVRQ7KHKHDULQJZLOOEHVHDOHGLQRUGHUWRSUHVHUYH
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%\-XGJH$P\%HUPDQ-DFNVRQRQMWK


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7KRPDV(GZDUG=HKQOH WH]HKQOH#JPDLOFRP

6KDQORQ:X VZX#GFZKLWHFROODUFRPDZDONRZLDN#GFZKLWHFROODUFRP

$QGUHZ:HLVVPDQQ DDZ#XVGRMJRY
       Case 1:17-cr-00201-ABJ Document 425 Filed 08/10/18 Page 6 of 6

.\OH5HQHH)UHHQ\ NUI#XVGRMJRYDFM#XVGRMJRYHHV#XVGRMJRYOPP#XVGRMJRY

.HYLQ0'RZQLQJ NHYLQGRZQLQJ#NGRZQLQJODZFRP

*UHJ'RQDOG$QGUHV JGD#XVGRMJRYVDFP#XVGRMJRY

:DOWHU0DFN ZPDFN#GRDUODZFRP

FU$%- 1RWLFH ZLOO EH GHOLYHUHG E\ RWKHU PHDQV WR

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0F$92<&2168/7,1*//&
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-DPDLFD1<
